            Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 1 of 8 PageID# 34



AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   Eastern District of Virginia


                      John Corey Fraser
                             Plaintiff                          )
                                v.                              )      Civil Action No.       3:22-CV-00410
                                                                )
Bureau of Alcohol, Tobacco, Firearms & Explosives,              )
Marvin Richardson, in his official capacity, as Acting          )
Director of the Bureau of Alcohol, Tobacco, Firearms            )
   and Explosives, Merrick Garland, in his official             )
  capacity as Attorney General of the United States
                            Defendant

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     Merrick Garland, Office for the Attorney General
     U.S. Department of Justice
     950 Pennsylvania Ave, NW
     Washington, DC 20530-0001

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
         Elliott Harding, Esq.
         Harding Counsel
         608 Elizabeth Ave.
         Charlottesville, VA 22701


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:               6/6/2022
                                                                                    Signature of Clerk or Deputy Clerk
               Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 2 of 8 PageID# 35




AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No.          3:22CV410
                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any)
  was received by me on (date)                                          .

            ❐ I personally served the summons on the individual at (place)
                                                                                         on (date)                         ; or

            ❐ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
            on (date)                               , and mailed a copy to the individual’s last known address; or

            ❐ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                         on (date)                         ; or

            ❐ I returned the summons unexecuted because                                                                              ; or

            ❐ Other (specify):
                                                                                                                                             .


            My fees are $
                                                    for travel and $                      for services, for a total of $                     .


            I declare under penalty of perjury that this information is true.


  Date:
                                                                Server’s signature



                                                                Printed name and title




                                                                Server’s address

  Additional information regarding attempted service, etc:
            Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 3 of 8 PageID# 36



AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   Eastern District of Virginia


                      John Corey Fraser
                             Plaintiff                          )
                                v.                              )      Civil Action No.       3:22-CV-00410
                                                                )
Bureau of Alcohol, Tobacco, Firearms & Explosives,              )
Marvin Richardson, in his official capacity, as Acting          )
Director of the Bureau of Alcohol, Tobacco, Firearms            )
   and Explosives, Merrick Garland, in his official             )
  capacity as Attorney General of the United States
                            Defendant

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     Bureau of Alcohol, Tobacco, Firearms & Explosives
     99 New York Ave, NE
     Washington, DC 20226

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
         Elliott Harding, Esq.
         Harding Counsel
         608 Elizabeth Ave.
         Charlottesville, VA 22701


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:               6/6/2022
                                                                                    Signature of Clerk or Deputy Clerk
               Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 4 of 8 PageID# 37



AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No.          3:22CV410
                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any)
  was received by me on (date)                                          .

            ❐ I personally served the summons on the individual at (place)
                                                                                         on (date)                         ; or

            ❐ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
            on (date)                               , and mailed a copy to the individual’s last known address; or

            ❐ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                         on (date)                         ; or

            ❐ I returned the summons unexecuted because                                                                              ; or

            ❐ Other (specify):
                                                                                                                                             .


            My fees are $
                                                    for travel and $                      for services, for a total of $                     .


            I declare under penalty of perjury that this information is true.


  Date:
                                                                Server’s signature



                                                                Printed name and title




                                                                Server’s address

  Additional information regarding attempted service, etc:
            Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 5 of 8 PageID# 38



AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   Eastern District of Virginia


                      John Corey Fraser
                             Plaintiff                          )
                                v.                              )      Civil Action No.       3:22-CV-00410
                                                                )
Bureau of Alcohol, Tobacco, Firearms & Explosives,              )
Marvin Richardson, in his official capacity, as Acting          )
Director of the Bureau of Alcohol, Tobacco, Firearms            )
   and Explosives, Merrick Garland, in his official             )
  capacity as Attorney General of the United States
                            Defendant

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     Marvin Richardson, Office of Acting Director of BATFE
     99 New York Ave., NE
     Washington, DC 20226


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
         Elliott Harding, Esq.
         Harding Counsel
         608 Elizabeth Ave.
         Charlottesville, VA 22701


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:               6/6/2022
                                                                                    Signature of Clerk or Deputy Clerk
               Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 6 of 8 PageID# 39




AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No.          3:22CV410
                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any)
  was received by me on (date)                                          .

            ❐ I personally served the summons on the individual at (place)
                                                                                         on (date)                         ; or

            ❐ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
            on (date)                               , and mailed a copy to the individual’s last known address; or

            ❐ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                         on (date)                         ; or

            ❐ I returned the summons unexecuted because                                                                              ; or

            ❐ Other (specify):
                                                                                                                                             .


            My fees are $
                                                    for travel and $                      for services, for a total of $                     .


            I declare under penalty of perjury that this information is true.


  Date:
                                                                Server’s signature



                                                                Printed name and title




                                                                Server’s address

  Additional information regarding attempted service, etc:
            Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 7 of 8 PageID# 40



AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   Eastern District of Virginia


                      John Corey Fraser
                             Plaintiff                          )
                                v.                              )      Civil Action No.       3:22-CV-00410
                                                                )
Bureau of Alcohol, Tobacco, Firearms & Explosives,              )
Marvin Richardson, in his official capacity, as Acting          )
Director of the Bureau of Alcohol, Tobacco, Firearms            )
   and Explosives, Merrick Garland, in his official             )
  capacity as Attorney General of the United States
                            Defendant

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     United States Attorney for the Eastern District of Virginia
     919 E. Main St, Suite 1900
     Richmond, VA 23219

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
         Elliott Harding, Esq.
         Harding Counsel
         608 Elizabeth Ave.
         Charlottesville, VA 22701


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:               6/6/2022
                                                                                    Signature of Clerk or Deputy Clerk
               Case 3:22-cv-00410-REP Document 3 Filed 06/06/22 Page 8 of 8 PageID# 41



AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No.          3:22CV410
                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any)
  was received by me on (date)                                          .

            ❐ I personally served the summons on the individual at (place)
                                                                                         on (date)                         ; or

            ❐ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
            on (date)                               , and mailed a copy to the individual’s last known address; or

            ❐ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                         on (date)                         ; or

            ❐ I returned the summons unexecuted because                                                                              ; or

            ❐ Other (specify):
                                                                                                                                             .


            My fees are $
                                                    for travel and $                      for services, for a total of $                     .


            I declare under penalty of perjury that this information is true.


  Date:
                                                                Server’s signature



                                                                Printed name and title




                                                                Server’s address

  Additional information regarding attempted service, etc:
